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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



 BIO-RAD LABORATORIES, INC.,
            Plaintiff,

 PRESIDENT AND FELLOWS OF HARVARD                        Civil Action No. 1:19-cv-12533-WGY
 COLLEGE,
            Co-Plaintiff,                                DEMAND FOR JURY TRIAL

          v.

 10X GENOMICS, INC.,
           Defendant.

 10X GENOMICS, INC.,
           Counterclaim Plaintiff,

 PRESIDENT AND FELLOWS OF HARVARD
 COLLEGE,
            Counterclaim Co-Plaintiff as to
            certain claims,

          v.

 BIO-RAD LABORATORIES, INC.,
            Counterclaim Defendant.


   10X GENOMICS, INC.’S MOTION FOR EXPEDITED CONSIDERATION OF
 CERTAIN HIGH-PRIORITY DISPUTES IN DOCKET NO. 141 AND/OR REFERRAL
                      TO A MAGISTRATE JUDGE

       10X Genomics, Inc., by its undersigned attorneys, hereby respectfully moves this Court to

enter an Order deciding the disputes identified in 10X Genomics Inc.’s Motion on an expedited

basis and refer any remaining disputes to Magistrate Judge Marianne B. Bowler for expedited

resolution; or referring Docket No. 141 in its entirety to Magistrate Judge Marianne B. Bowler. A

Proposed Order is filed herewith.
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       On August 28, 2020, the Parties met and conferred telephonically pursuant to Local Rule

7.1. Plaintiff and Counterclaim Defendant Bio-Rad Laboratories, Inc. (“Bio-Rad”) has indicated

it opposes this Motion. President and Fellows of Harvard College and Stilla Technologies, Inc.

and Stilla Technologies have stated that they neither support nor oppose this Motion. The schedule

in this case is tight and the clock is ticking. Therefore, 10X respectfully requests that the Court

consider this Motion on an expedited basis and order that Bio-Rad’s opposition to this Motion be

filed by no later than September 1, 2020.



 Date: August 28, 2020


 Respectfully submitted,


 /s/ Matthew D. Powers

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             CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 7.1

I hereby state that on August 28, 2020, before filing this Motion, counsel for 10X telephonically
met and conferred with Bio-Rad’s counsel and attempted in good faith to resolve or narrow the
issues in accordance with the requirements of Local Rule 7.1. Counsel for Bio-Rad states that
Bio-Rad opposes the present motion. Stilla and Harvard have indicated that they neither oppose
nor join this Motion.
                                                    /s/ Matthew D. Powers
                                                    Matthew D. Powers

                                CERTIFICATE OF SERVICE

The undersigned certifies that on August 28, 2020, the foregoing document was electronically
filed with the Clerk of the Court using the CM/ECF system, which will issue an electronic
notification of filing to all counsel of record.
                                                    /s/ Matthew D. Powers
                                                    Matthew D. Powers
